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     Banafsheh Vahdad and
 9   Mohammad Hossein Goshayesh Tehrani
10
                         UNITED STATES DISTRICT COURT
11
                             DISTRICT OF COLUMBIA
12

13   Banafsheh Vahdad and                   )   Docket No.:
14   Mohammad Hossein                       )
     Goshayesh Tehrani                      )
15                                          )
16   4221 E. Ray Road #2097                 )   COMPLAINT FOR WRIT OF
     Phoenix, AZ 85044                      )   MANDAMUS
17
                                            )
18                        Plaintiffs        )
19
     vs.                                    )
                                            )
20   Marco Rubio, Secretary of State, U.S.)
21   Department of State; Mora Namdar,)
     Acting Assistant Secretary of the State)
22
     for Consular Affairs; Alan Meltzer)
23   Charge d’Affaires, US Embassy in
24
     Germany ; Brian Heath, Consul
     General, U.S. Consulate General,
25   Frankfurt, Germany
26

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     Executive Office of the Legal Adviser
                          COMPLAINT FOR WRIT OF MANDAMUS 1
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 1   US Department of State
 2   600 19th Street NW, Suite 5600
     Washington DC 20522
 3

 4   Office of the General Counsel
 5
     US Department of Homeland Security
     2707 Martin Luther King Jr. Ave, SE
 6   Washington DC 20528
 7
                            Defendants      )
 8

 9

10
           1.     This is a civil action brought by Plaintiffs to compel Defendants,

11         officers of the United States, to adjudicate an immigrant visa based on an I-
12
           130 Petition for Alien Relative (hereinafter referred to as “I-130” or
13

14         “petition”, filed by Plaintiff Ms. Banafsheh Vahdad (hereinafter referred to
15
           as “VAHDAD”), to benefit her husband, Plaintiff Mr. Mohammad Hossein
16

17         Goshayesh Tehrani (hereinafter referred to as “GOSHAYESH TEHRANI”).
18
           Adjudication of said petition and immigrant visa is a nondiscretionary
19
           ministerial duty owed to Plaintiffs. Plaintiffs have no other adequate remedy
20

21         to obtain that right other than by way of this complaint.
22
                              JURISDICTION AND VENUE
23

24         2.    The Mandamus and Venue Act of 1961 confers upon district courts
25
           original jurisdiction of “any action … to compel an officer or employee of the
26

27         United States or any agency thereof to perform a duty owed to the plaintiff.”
28         28 U.S.C. §§ 1331, 1361.         Mandamus is proper when the plaintiff
                         COMPLAINT FOR WRIT OF MANDAMUS 2
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 1   demonstrates that the government official or agency has not performed “a
 2
     non-discretionary duty” owed to the plaintiff. Briggs v. Sullivan, 886 F.2d
 3

 4   1132, 1142 (9thth. Cir. 1989); see also Coleman v. Barnhart, 2003 WL
 5
     22722816, at *2 (N.D. Cal. 2003). Moreover, this Court has jurisdiction over
 6

 7   the instant matter pursuant to the Administrative Procedure Act (“APA”). 5
 8
     U.S.C. §§ 555(b), 706. Venue is proper in the District of Colombia under 28
 9

10
     U.S.C. §§ 1391(b) and (e), as a substantial part of the events giving rise to the

11   instant claim occurred in this district.
12
                                     PARTIES
13

14   3.    Plaintiff VAHDAD is a United States Citizen who filed an I-130
15
     Petition for her husband, Plaintiff GOSHAYESH TEHRANI on 11/14/2022
16

17   which was approved on 10/12/2023 by the U.S. Citizenship Immigration
18
     Services (“USCIS” or “Service”) and subsequently sent to the National Visa
19
     Center (“NVC”).
20

21   4.    Defendant Marco Rubio is sued in his official capacity as the Secretary
22
     of State.    In this capacity he has responsibility for supervising the
23

24   administration of immigration laws overseas and supervises the Foreign
25
     Service of the United States and routinely does and transacts business in the
26

27
     District of Columbia and with individuals and corporations residing therein.
28

                    COMPLAINT FOR WRIT OF MANDAMUS 3
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 1   5.    Defendant Mora Namdar is sued in her official capacity as Acting
 2
     Assistant Secretary of the State for Consular Affairs. In this capacity she has
 3

 4   responsibility to protect the lives and interests of American citizens abroad
 5
     and to strengthen the security of United States borders through the
 6

 7   adjudication of visas and passports as well as overseeing the procedure that
 8
     allow lawful immigrants and visitors to travel to America, and routinely does
 9

10
     and transacts business in the District of Columbia and with individuals and

11   corporations residing therein.
12
     6.    Defendant Alan Meltzer is sued in his official capacity as the Charge
13

14   d’Affaires at US Embassy in Germany. In this capacity, he is the head of the
15
     U.S. mission in Germany and, among other responsibilities, has the
16

17   responsibility to protect the lives and interests of American citizens and to
18
     strengthen the security of United States borders through the adjudication of
19
     visas and passports. Mr. Meltzer is also responsible for overseeing the
20

21   procedure that allows lawful immigrants and visitors to travel to America.
22
     Mr. Meltzer routinely transacts business in the District of Columbia and with
23

24   individuals and corporations residing therein.
25
     7.    Defendant Brian Heath, is sued in his official capacity as Consul
26

27
     General, U.S. Consulate, Frankfurt, Germany. In this capacity, he has the
28   responsibility to protect the lives and interests of American citizens and to
                    COMPLAINT FOR WRIT OF MANDAMUS 4
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 1   strengthen the security of United States borders through the adjudication of
 2
     visas and passports. Mr. Heath is also responsible for overseeing the
 3

 4   procedure that allows lawful immigrants and visitors to travel to America.
 5
     Mr. Heath routinely transacts business in the District of Columbia and with
 6

 7   individuals and corporations residing therein.
 8

 9

10
                           STATEMENT OF FACTS

11   8.    As previously mentioned, Plaintiff VAHDAD is a United States citizen.
12
     (Exhibit 1).
13

14   9.    On 11/14/2022 VAHDAD filed an I-130 petition to benefit her
15
     husband, Plaintiff GOSHAYESH TEHRANI which was approved by USCIS
16

17   On 10/12/2023 (Exhibit 2).
18
     10.   GOSHAYESH TEHRANI is an Iranian national.
19
     11.   After all fees and documents were submitted to the NVC,
20

21   GOSHAYESH TEHRANI’s file was documentarily complete on 12/13/2023.
22
     (Exhibit 3).
23

24   12.   Thereafter, GOSHAYESH TEHRANI was scheduled to appear for his
25
     in person immigrant visa interview on 02/09/2024 at the Consular Post in
26

27
     Frankfurt, Germany.
28

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 1         13.   After said interview, the Consular Post requested additional
 2
           information from GOSHAYESH TEHRANI with which he immediately
 3

 4         complied. (Exhibit 4).
 5
           14.   Regular follow ups with the Consular Post in Frankfurt, Germany and
 6

 7         drawing their attention to the extreme hardship Plaintiffs have been suffering,
 8
           both emotionally as well as financially, have been ignored and VAHDAD and
 9

10
           GOSHAYESH TEHRANI only receive boilerplate responses that his case is

11         going through “administrative processing”, with no timeframe as to the
12
           issuance of this long-awaited immigrant visa.
13

14         15.   Despite passage of over ONE YEAR, GOSHAYESH TEHRANI has
15
           not been issued his immigrant visa.
16

17         16.   Plaintiffs have been eagerly waiting for the issuance of GOSHAYESH
18
           TEHRANI immigrant visas so that they can be unified here in the United
19
           States and begin living their lives as husband and wife, without undue
20

21         hardship
22
     ///
23

24   ///
25

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                         COMPLAINT FOR WRIT OF MANDAMUS 6
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 1                              EXHAUSTION
 2
     17.   Plaintiffs have exhausted their administrative remedies. They have
 3

 4   provided all the information and evidence necessary for an adjudication of the
 5
     initial petition by the USCIS. They subsequently submitted all requested
 6

 7   documentation for the processing by Consular Post of the immigrant visa
 8
     application, including but not limited to additional fees requested by the NVC,
 9

10
     as well as appearing for their immigrant visa interviews at the Consular Post

11   in Frankfurt, Germany.
12
     18.   Despite the passage of over one year, to date GOSHAYESH
13

14   TEHRANI’s immigrant visa has not been issued by the US Embassy in
15
     Frankfurt, Germany.
16

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                   COMPLAINT FOR WRIT OF MANDAMUS 7
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 1                           CLAIM FOR RELIEF
 2
                  (Unreasonable Delay and Failure to Perform
 3

 4                Nondiscretionary Duties Owed to Plaintiffs)
 5
     19.   Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 6

 7   18 of this Complaint as if fully stated herein.
 8
     20.   The adjudication of said petition and immigrant visa is a
 9

10
     nondiscretionary ministerial duty owed by Defendants to Plaintiffs as the

11   petitioner and beneficiary of immigrant visa application. Adjudication of
12
     these applications is a ministerial act, as Plaintiffs have complied with all
13

14   requests made by Defendants.
15
     21.   GOSHAYESH TEHRANI has been patiently waiting for the issuance
16

17   of his immigrant visa by the Consular Section, at the U.S. Embassy in
18
     Frankfurt, Germany.
19
     22.   Defendants have willfully and unreasonably delayed and have refused
20

21   to complete adjudication of said immigrant visa
22
     23.   The delay is unreasonable per se.
23

24   24.   The delay is unreasonable in light of the fact that Defendants are aware
25
     that Plaintiffs are suffering from the uncertainty of when GOSHAYESH
26

27
     TEHRANI can finally become Legal Permanent Residents and join his wife
28   VAHDAD here in the United States. Defendants have been derelict in their
                    COMPLAINT FOR WRIT OF MANDAMUS 8
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 1   duties to adjudicate the immigrant visas in a timely manner. The emotional
 2
     and financial toll of this unreasonable delay has caused great harm to the
 3

 4   Plaintiffs.
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     ///
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 7   ///
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                   COMPLAINT FOR WRIT OF MANDAMUS 9
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 1                          PRAYER FOR RELIEF
 2
     WHEREFORE, and in light of the foregoing, Plaintiffs pray that the Court:
 3

 4   A. Assume jurisdiction over this matter;
 5
     B. Compel Defendants to perform their duty or duties to complete processing
 6

 7      of the visa application filed by the Plaintiffs;
 8
     C. Award Plaintiffs’ attorney’s fees and costs pursuant to 28 U.S.C. § 2412
 9

10
        and any other applicable statutory, common law, or constitutional

11      provision; and
12
     D. Grant Plaintiffs any other relief as this Court deems just and proper at law
13

14      and in equity.
15

16

17
     Dated: March 5, 2025                     Respectfully Submitted,
18

19                                            /s/ Lewis Jubran, Esq.
                                              Attorney for Plaintiffs
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                   COMPLAINT FOR WRIT OF MANDAMUS 10
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    EXHIBIT 2
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    EXHIBIT 3
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